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                                                                                              United States Bankruptcy Court
                                                                                                  Southern District of Texas

                       IN THE UNITED STATES BANKRUPTCY COURT                                         ENTERED
                         FOR THE SOUTHERN DISTRICT OF TEXAS                                        October 09, 2024
                                  HOUSTON DIVISION                                                Nathan Ochsner, Clerk


IN RE:                                                 §
                                                       §        CASE NO: 23-645
Professional Fee Matters Concerning the                §
Jackson Walker Law Firm                                §

                                          ORDER
                                FOR SCHEDULING CONFERENCE

        Upon the transfer of the “United States Trustee’s Motion For (1) Relief From Judgment
Pursuant To Federal Rule of Civil Procedure 60(b)(6) and Federal Rule of Bankruptcy Procedure
9024 Approving The Retention and Compensation Applications of Jackson Walker LLP, (2)
Sanctions, and (3) Related Relief” in sixteen (16) cases1; and the “United States Trustee’s
Amended and Supplemental Motion For (1) Relief From Judgment Pursuant To Federal Rule of
Civil Procedure 60(b)(6) and Federal Rule of Bankruptcy Procedure 9024 Approving The
Retention and Compensation Applications of Jackson Walker LLP, (herein “Jackson Walker”) (2)
Sanctions, and (3) Related Relief” in fifteen (15) cases in addition to one (1) filed in 21-30936
Brilliant Energy, LLC in the instant court2 for a total of thirty-two (32) contested matters, (“the
“Rule 60 Motions”), (together the “Affected Cases”), the Court deems it necessary to issue a revised
and consolidated comprehensive scheduling, pre-trial and trial order. Accordingly, it is therefore

ORDERED: that

1. On Tuesday, October 15, 2024, at 2:00 p.m. (Central Standard Time), a non-evidentiary
   scheduling conference shall be held before the United States Bankruptcy Court, Houston
   Division, Courtroom 8B, 515 Rusk Ave, Houston Texas.

2. The parties should be prepared to discuss the following:

    a. Amending the Court’s “Amended Comprehensive Scheduling, Pre-Trial & Trial Order”3
       to incorporate all of the Affected Cases. Absent good cause shown beyond the control of

1
  See 18-30155 EXCO Resources, Inc., ECF No 2358; 19-32112 Jones Energy, Inc., ECF No. 282; 19-34508 Sanchez
Energy Corporation, ECF No. 2930; 20-30336 McDermott International, Inc., ECF No. 1141; 20-31886 Sheridan
Production Partners, I-A, LP., ECF No. 10; 20-32680 Energy Services Puerto Rico, LLC, ECF No. 13; 20-33233
Chesapeake Energy Corporation, ECF No. 4514; 20-33295 Covia Holdings Corporation, ECF No. 1477; 20-33812
Denbury Holdings, Inc., ECF No. 14; 20-33916 TMW Merchants LLC, ECF No. 255; 20-34500 IQor Holdings Inc.,
ECF No. 326; 20-50082 Volusion, LLC, ECF No. 337; 22-90002 Seadrill Member LLC, ECF No. 11; 22-90126 LaForta
- Gestao E Investmentos, ECF No. 311; 22-90129 Altera Infrastructure Project Services LLC, ECF No. 96; 23-90055
Auto Plus Auto Sales, LLC, ECF No. 50.
2
  See 18-35672 Westmoreland Coal Company, ECF No. 3377; 20-20184 JC Penney Company Direct Marketing
Services LLC, ECF No. 1351; 20-32021 Whiting Petroleum Corporation, ECF No. 1465; 20-32519 Neiman Marcus
Group LTD LLC, ECF No. 3224; 20-32564 Stage Stores, Inc., ECF No. 1241; 20-33302 Covia Finance Company, LLC,
ECF No. 235; 20-34758 Tug Robert J. Bouchard Corporation, ECF No. 381; 20-35561 Mule Sky LLC, ECF No. 1089;
20-35740 Seadrill Partners LLC, ECF No. 877; 21-30427 Seadrill Limited, ECF No. 1621; 21-30936 Brilliant Energy,
LLC, ECF No. 284; 21-31861 Katerra Inc., ECF No. 2093; 21-90002 Basic Energy Services Inc., ECF No. 1791; 21-
90054 Strike, LLC., ECF No. 1540; 22-50009 4E Brands Northamerica LLC., ECF No. 645; 22-90018 Sungard AS New
Holdings, LLC. ECF No. 1043.
3
  ECF No. 249.
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       the lawyers and/or Parties the November 1, 2024, “Close of Fact Discovery” will remain
       unchanged other than the taking of depositions by Jackson Walker, LLP, if ordered by the
       Court, of Mr. Kevin Epstein, Ms. Millie A. Sall and Mr. Henry Hobbs as stated on the
       record at the October 8, 2024, hearing.

   b. The order allowing the filing of dispositive motions filed in 22-90129, ECF No. 134 and
      related matters.

   c. Any other matters that may arise under Bankruptcy Rule 7016.

3. Pursuant to Bankruptcy General Order 2021-05 and Bankruptcy Local Rule 9017-1, parties
   may either appear electronically or in person unless otherwise ordered by this Court.

4. To participate electronically, parties must follow the instructions set forth on Judge
   Rodriguez’s web page located at: https://www.txs.uscourts.gov/content/united-states-
   bankruptcy-judge-eduardo-v-rodriguez. Parties are additionally instructed to: (i) call in
   utilizing the dial-in-number for hearings before Chief Judge Rodriguez at 832-917-1510,
   conference room number 999276 and (ii) log on to GoToMeeting for video appearances and
   witness testimony, utilizing conference code: judgerodriguez. Parties MUST HAVE TWO
   SEPARATE DEVICES to appear by video and telephonically. One device will be used to log
   on to GoToMeeting and the other will be used to call the telephonic conference line.

5. No later than Thursday, October 10, 2024, Mr. Kevin M. Epstein, United States Trustee
   Region 7, Southern and Western Districts of Texas, must serve a copy of this Order on Jackson
   Walker, LLP, and all parties entitled to notice of the hearing and file a certificate of service
   with the Clerk of Court.

        SIGNED October 9, 2024


                                                       ________________________________
                                                               Eduardo V. Rodriguez
                                                        Chief United States Bankruptcy Judge
